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Wnited States Senate

May 6, 2022

The Honorable Merrick Garland
Attorney General

U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530

Dear Attorney General Garland:

We write to follow up on a recent briefing that the United States Marshals Service
(USMS) provided to our offices on its October 2021 inspection of the District of Columbia
Central Detention Facility (CDF). No person should be held under the unconscionable conditions
that USMS found at CDF, less than two miles from the United States Capitol.

From October 18 through October 22, USMS conducted an unannounced inspection of
CDF and the District of Columbia Correctional Treatment Facility (CTF). Though USMS found
conditions in CTF to be “largely appropriate and consistent with federal prisoner detention
standards,” the agency identified a litany of egregious conditions at CDF, including cells with
standing human sewage; detainees deprived of water and food as punishment; water shut off in
cells for days at a time; hot meals served cold and congealed; detainees with observable injuries
with no corresponding medical or incident reports; and a failure to follow COVID-19 mitigation
protocols.' One detainee reportedly was suffering from chemical burns after guards pepper
sprayed him and then denied him access to a shower for days. USMS also encountered
unacceptable conduct by D.C. Department of Corrections (DOC) staff, who antagonized and told
detainees not to cooperate with the inspection; obstructed USMS access to the facility; and
appeared unfamiliar and unconcerned with applicable policies and standards.’

In response, USMS removed the majority of detainees in federal custody from CDF.
Since then, USMS has also entered into a Memorandum of Understanding (MOU) with DOC to
remedy DOC’s failures with respect to the management of CDF. While we appreciate the steps
USMS has taken to address the unsafe and inhumane conditions at the facility, we are concerned
by its failure to uncover these deplorable conditions sooner—and that it took recent complaints
by January 6 pretrial detainees to address conditions that have long been a matter of public
record.

! Spencer S. Hsu, Emily Davies, & Paul Duggan, D.C. jail ordered U.S. marshals to leave after surprise inspections,
judge says, November 3, 2021, https://www.washingtonpost.com/local/legal-issues/de-jail-conditions-
inspection/2021/11/03/c75d08ea-3c27- | lec-bfad-8283439871lec_story.html

2 Id.

3 Id.
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For example, in 2015, the Washington Lawyers’ Committee for Civil Rights and Urban
Affairs conducted a study and issued a report on the “appalling conditions” at CDF,’ including
vermin and pest infestation, growing mold, and decaying plumbing contributing to sub-standard
and unhealthy conditions. The failure to address these conditions at the time raises significant
concerns. To date, USMS has not addressed how long the conditions at CDF existed before the
unannounced inspection last October and whether previous complaints were adequately
investigated. Nor has USMS indicated what, if any, policy or procedural changes it has adopted
to ensure that complaints regarding subpar detention facilities will be timely addressed going
forward.

We understand that USMS forwarded its October findings to the Civil Rights Division
for review of potential violations of the Civil Rights of Institutionalized Persons Act (CRIPA),
which authorizes DOJ to investigate and seek equitable relief to remedy prison conditions that
deprive detainees of their constitutional rights. The Department’s investigative authority is not
limited to civil remedies, however. A particularly disturbing aspect of USMS’s findings was that
DOC staff appeared to chill, silence, and ignore complaints of detainees during the inspection.
Those who deprive detained persons of their civil rights may be subject to criminal charges
under 18 U.S.C. § 242.

We urge DOJ to immediately investigate potential civil and criminal violations of federal
law at CDF and make the results of those investigations public. In addition, please respond to the
following requests as soon as possible, but no later than May 27, 2022:

1, Please describe in detail which problems identified by the October inspection have
been fully rectified by DOC and which remain outstanding.

2. Please describe in detail what steps, if any, USMS has taken to ensure that DOC
personnel understand applicable standards of detention, their obligation to cooperate
with USMS inspections, and their obligation to address complaints by detainees about
conditions of detention.

3. Please describe in detail what steps, if any, USMS has taken to ensure that complaints

about conditions at DOC and other facilities where federal pretrial detainees are
housed are addressed in a timely manner going forward.

4. Please provide an update on the status of the CRIPA referral.

We appreciate your consideration and look forward to your prompt reply.

4 Washington Lawyers’ Committee For Civil Rights and Urban Affairs, D.C. Prisoners: Conditions of Confinement
in the District of Columbia, June 11, 2015, https://www.washlaw.org/pdf/conditions_of confinement_report.PDF

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Sincerely,

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RICHARD J. DURBIN CHARLES E.GRASSLE
Chair Ranking Member
Committee on the Judiciary

Committee on the Judiciary

BENJAMIN L. CARDIN
United States Senator

